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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division

 UNITED STATES OF AMERICA

            v.                                         Case No. 1:24-MJ-100

 ROBERT WESLEY ROBB,                                   Filed Under Seal
                  Defendant.


                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
       I, Jordan Jenkins, being first duly sworn, state:

                       INTRODUCTION AND AGENT BACKGROUND

       1.        I make this Affidavit in support of an application for a criminal complaint and arrest

warrant for ROBERT WESLEY ROBB.

       2.        I am a Special Agent with the Federal Bureau of Investigation (FBI), and I have been

so employed for since 2021. I am currently assigned to the FBI’s Washington Field Office’s

securities fraud squad, which has investigative responsibility for complex financial crimes. I have

participated in investigations involving securities fraud, investment fraud, money laundering, and

cybercrime. I have training and experience in the enforcement of the laws of the United States,

including the preparation and presentation of search warrant affidavits and the execution of search

warrants, as well as extensive training in investigating white-collar crimes. I have received the

Chainalysis Ethereum Investigations and Certified Anti-Money Laundering certifications, and

training in the tracing of funds generated from illicit activity, including cryptocurrencies, through the

international banking system and blockchain technologies.

       3.        I am familiar with the information contained in this Affidavit. This Affidavit is

based upon information from several sources, including my personal observations, information

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provided to me by other law enforcement agents and officers, written statements made by ROBB to

victims and witnesses, documents and financial records provided by different entities and

individuals, and publicly available information. This Affidavit is offered for the sole purpose of

establishing probable cause in support of a criminal complaint against ROBB and does not set forth

all of the facts of this investigation.

       4.      The proposed criminal complaint charges ROBB with one count of wire fraud. Based

on my training and experience and the facts as set forth in this Affidavit, however, I submit that

there is probable cause to believe that ROBB has committed violations of not only 18 U.S.C. § 1343

(Wire Fraud), but also 18 U.S.C. § 1956(a)(1)(B)(i) (Concealment Money Laundering) and 18 U.S.C.

§ 1957 (Unlawful Monetary Transactions) (collectively, the “subject offenses”), in the Eastern

District of Virginia and elsewhere.


                            CRYPTOCURRENCY BACKGROUND

       5.      Virtual Currency: Virtual currencies are digital tokens of value circulated over the

Internet. Virtual currencies are typically not issued by any government or bank like traditional fiat

currencies, such as the U.S. dollar, but rather are generated and controlled through computer

software. Different virtual currencies operate on different blockchains, and there are many different

widely used virtual currencies currently in circulation. Bitcoin (or BTC) and ether (ETH) are

currently the most well-known virtual currencies in use. BTC exists on the BTC blockchain and ETH

exists on the Ethereum network. Typically, a virtual currency that is “native” to a particular

blockchain cannot be used on a different blockchain. Thus, absent technological solutions those

native assets are siloed within a specific blockchain. For instance, ETH (the native token on the

Ethereum network) cannot be used on other networks unless it is “wrapped” by contract code. This

wrapping process results in what is called Wrapped ETH or WETH.

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       6.      Virtual Currency Address: Virtual currency addresses are the particular virtual

locations to which such currencies are sent and received. A virtual currency address is analogous to

a bank account number is represented as a string of letters and Virtual currency addresses are the

particular virtual locations to which such currencies are sent and received. A virtual currency address

is analogous to a bank account number is represented as a string of letters and numbers.

       7.      Virtual Currency Wallet: There are various types of virtual currency wallets,

including software wallets, hardware wallets, and paper wallets. A virtual currency wallet allows

users to store, send, and receive virtual currencies. A virtual currency wallet can hold many virtual

currency addresses at the same time.

       8.      Wallets that are hosted by third parties are referred to as “hosted wallets” because the

third party retains a customer’s funds until the customer is ready to transact with those funds.

Conversely, wallets that allow users to exercise total, independent control over their funds are often

called “unhosted” wallets.

       9.      Blockchain: Many virtual currencies publicly record all of their transactions on what

is known as a blockchain. The blockchain is essentially a distributed public ledger, run by the

decentralized network of computers, containing an immutable and historical record of every

transaction utilizing that blockchain’s technology. The blockchain can be updated multiple times per

hour and records every virtual currency address that has ever received that virtual currency and

maintains records of every transaction and all the known balances for each virtual currency address.

       10.     Blockchain Explorer: These explorers are online tools that operate as a blockchain

search engine allowing users the ability to search for and review transactional data for any addresses




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on a particular blockchain. A blockchain explorer is software that uses API 1 and blockchain nodes

to draw data from a blockchain and uses a database to arrange and present the data to a user in a

searchable format.

       11.     Virtual Currency Exchanges (VCEs): VCEs are trading and/or storage platforms

for virtual currencies, such as BTC and ETH. Many VCEs also store their customers’ virtual currency

in virtual currency wallets. As previously stated, these wallets can hold multiple virtual currency

addresses associated with a user on a VCE’s network. Because VCEs act as money services

businesses, they are legally required to conduct due diligence of their customers (i.e., KYC checks)

and to have anti-money laundering programs in place (to the extent they operate and service

customers in the United States).

       12.     Blockchain Analysis: As previously stated, while the identity of the virtual currency

address owner is generally anonymous, law enforcement can identify the owner of a particular virtual

currency address by analyzing the blockchain (e.g., the BTC blockchain). The analysis can also

reveal additional addresses controlled by the same individual or entity. “For example, when an

organization creates multiple [BTC] addresses, it will often combine its [BTC] addresses into a

separate, central [BTC] address (i.e., a “cluster”). It is possible to identify a ‘cluster’ of [BTC]

addresses held by one organization by analyzing the [BTC] blockchain’s transaction history. Open

source tools and private software products can be used to analyze a transaction.” United States v.

Gratkowski, 964 F.3d 307, 309 (5th Cir. 2020).

       13.     In addition to using publicly available blockchain explorers, law enforcement uses

commercial services offered by several different blockchain-analysis companies to investigate virtual


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        API stands for application programming interface, which is a set of definitions and
protocols for building and integrating application software.
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currency transactions. These companies analyze virtual currency blockchains and attempt to identify

the individuals or groups involved in transactions. Through numerous unrelated investigations, law

enforcement has found the information provided by these tools to be reliable.

                                        PROBABLE CAUSE

       14.     As explained further below, I respectfully submit that there is probable cause to

believe that, beginning no later than November 2022 and continuing through the present, in the

Eastern District of Virginia and elsewhere, ROBERT ROBB has devised and intended to devise a

scheme and artifice to defraud investors to obtain money and property by means of materially false

and fraudulent pretenses, representations, and promises, and for the purpose of executing the scheme

and artifice to defraud, knowingly transmitted and caused to be transmitted by means of wire

communications in interstate commerce, certain writings, signs, signals and sounds, in violation of

Title 18, United States Code, Section 1343 (Wire Fraud). To wit:

       15.     On or about September 4, 2023, the defendant, using an electronic device located

outside the Commonwealth of Virginia, transmitted a message via the internet to Investor A, an

individual located in the Eastern District of Virginia.

       16.     I also submit that there is probable cause to believe that ROBERT ROBB conducted

financial transactions knowing the property involved in such transactions represented the proceeds

of Wire Fraud, and did so in order to conceal or disguise the nature, location, source, ownership, or

the control of the proceeds of the fraud scheme, in violation of 18 U.S.C. § 1956(a)(1)(B)(ii)

(Concealment Money Laundering). In addition, there is probable cause to believe ROBB knowingly

engaged in monetary transactions in criminally derived property of a value greater than $10,000

involving property derived from Wire Fraud, in violation of 18 U.S.C. § 1957 (Unlawful Monetary




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Transactions), in the Eastern District of Virginia and elsewhere in connection with his conduct in the

criminal scheme.

        17.     Section I provides general background of the investigation and summarizes ROBB’s

role and conduct. Section II summarizes certain investor complaints that the FBI has received

relating to ROBB, including a complaint by an investor located in the Eastern District of Virginia.

Section III summarizes ROBB’s conduct as it relates to money laundering, including but not limited

to ROBB’s use of investor funds for personal expenses. Section IV details ROBB’s ongoing

execution of the criminal scheme.

   I.         Background & Summary

        18.     ROBB is a resident of Frederick, Colorado. However, upon information and belief,

ROBB is currently located in Las Vegas, Nevada.

        19.     In or around January 2003, ROBB pleaded guilty to two counts of wire fraud in the

United States District Court for the Northern District of California. According to publicly available

records, ROBB defrauded investors by falsely stating Las Vegas based casinos would be using his

prototype gambling machine and that he had received endorsements from well-known figures.

Contrary to his representations to his investors, ROBB used investor funds to gamble in Las Vegas

and to buy new vehicles. When investors refused to invest more money, ROBB threatened investors’

lives and safety. ROBB was sentenced to 27 months and ordered to pay $4.1 million in restitution to

18 victims.

        20.     In or around December 2023, FBI was alerted to a criminal scheme through which

ROBB solicited investment in a Maximum Extractable Value (MEV) cryptocurrency trading bot

(hereafter the “MEV bot”). In my training and experience, I know MEV cryptocurrency trading bots

are software tools that analyze arbitrage opportunities by manipulating the sequence of transactions

within a blockchain block and subsequently execute strategic transactions to produce a profit. The

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FBI investigation included interviews with victims and witnesses, a review of documents and

communications provided by victims and witnesses, and analysis of bank and virtual currency

exchange account records.

         21.      The ways, manner, and means by which ROBB sought to accomplish the scheme and

its objectives included, but were not limited to, the following:

               a. ROBB recruited prospective investors by touting his own experience and expertise,

                  his purported success in various cryptocurrency and Web3 2 projects he managed or

                  contributed to, and his purported association with well-known and reputable

                  individuals within the cryptocurrency investment sphere.

               b. ROBB made materially false, fraudulent, and misleading representations—and

                  material omissions—about the progress and capabilities of the MEV bot, the timing

                  of when he planned to “launch” the bot, how investors’ money would be used, and

                  the profits investors would supposedly realize through the MEV bot.

               c. ROBB obfuscated the location and use of investment funds through the use of

                  multiple virtual currency addresses, virtual currency exchange accounts, and bank

                  accounts.

               d. ROBB concealed and misrepresented the true disposition of investor funds.

                  Specifically, ROBB used investor funds to pay for personal expenses such as luxury

                  vacations, vehicles, and a luxury suite at the Denver Broncos football stadium.

   II.         Investor Complaints

         22.      The FBI has received numerous investor complaints from more than ten investors

alleging losses totaling more than $2.2 million. These complaints include allegations of


         2
         Web3 is a phrase used to refer to the next “version” of the internet that is focused on ideas
such as decentralization and blockchain technologies.
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misrepresentations and misuse of investor funds for personal expenses. Through its own review of

financial records and interviews with investors, the FBI has identified about $1.5 million in funds it

has either confirmed or believes were from investors, though investigation is still ongoing. Some of

the investor complaints are summarized as follows:

       Investor A

       23.     Investor A is a resident of Brambleton, Virginia, which is within the Eastern District

of Virginia. At all times that Investor A was communicating with ROBB other than September 7-10,

2023, Investor A was located within the Eastern District of Virginia. In or around September 2023,

Investor A purchased keys to ROBB’s Friend.Tech account “PokerBrat2019.” In my training and

experience, I know Friend.Tech is a blockchain-based social platform. Its main feature is “token-

gated chats” through tokens called “keys” that can be purchased and traded. Users gain access to

other users’ token-gated chats through the purchase of keys. In other words, Friend.Tech allows users

to purchase access to chat rooms with specific individuals. 3

       24.     On or around September 4, 2023, ROBB posted in his Friend.Tech chat advertising

an opportunity to invest in a Maximum Extractable Value (MEV) cryptocurrency trading bot. ROBB

invited individuals that have “$100-$200k+ sitting around” and would like to “participate in some

next-level MEV stuff” to send him a direct message to learn more. A screenshot containing ROBB’s

representations on Friend.Tech is included below:




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         ROBB has received income from the sale of access to his Friend.Tech account. As of
February 2024, it appears he has received approximately $150,000. This information is publicly
available through Friend.Tech. Law enforcement has not identified this money being transferred
into ROBB’s bank accounts.
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       25.    A review shows that on September 4, 2023, the same day ROBB sent the above

message, ROBB accessed his Coinbase account from an IP address geolocated in Las Vegas, Nevada.

       26.    In ROBB’s Friend.Tech message, as shown above, ROBB references an entity called

“Rampage.” Based on information obtained in this investigation, I know that Rampage is a separate

automated cryptocurrency trading platform that ROBB advertised but also failed to launch.

       27.    On or about September 7, 2023, Investor A sent a direct message to ROBB’s X

account, @pokerbrat2019, and discussed the opportunity to invest in the MEV bot. While

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communicating on X, ROBB made multiple representations to Investor A about the MEV bot and

told Investor A that the investment must total at least $100,000.

       28.     ROBB explained to Investor A how the MEV bot would work, how Investor A’s

investment would be used by as capital by the MEV bot to trade cryptocurrency (i.e., not to fund

ROBB’s personal or even software development expenses), how the origin of Investor A’s

investment must be “obfuscate[d],” and how ROBB and Investor A would split profits. Further,

ROBB told Investor A that the MEV bot would make millions of dollars and assured Investor A that

this was a low-risk investment. Additionally, ROBB insisted Investor A must invest within a “day

or two,” because he expected the bot to be operational “soon (likely early next week).” In my training

and experience, I know that individuals engaged in investment fraud will often seek to create a sense

of urgency with investors so that investors are pressured to invest quickly without asking questions

that may alert the investor to the truth about the investment. Screenshots containing ROBB’s

representations on X to Investor A are included below:




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       29.    Investor A and ROBB continued their communication on Telegram. ROBB used the

Telegram name “DiplyClone.” On Telegram, ROBB provided Investor A an Ethereum virtual

currency address to send his initial $100,000 investment. On or about September 8, 2023, Investor

A sent ROBB an amount of USD Coin (USDC) totaling approximately $100,000. The funds provided

by Investor A were subsequently transferred through multiple virtual currency addresses and then

into ROBB’s Coinbase account.

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       30.      In the weeks that followed, ROBB repeatedly promised Investor A that the MEV bot

would be launched shortly, and then subsequently provided multiple excuses for why the MEV bot

had not yet launched. Among other things, ROBB claimed he was dealing with an illness and facing

other issues in the Rampage development process that required his attention. In my training and

experience, I know that individuals engaged in investment fraud will often seek to conceal the true

status of the investment, such as the progress and launch of the bot, so that they can continue the

fraud and avoid alerting investors to the true disposition of the funds.

       31.     On or around October 27, 2023, ROBB told Investor A that a new investor was

interested in making a $300,000 investment in the MEV bot. Such an investment would dilute

Investor A’s profits, so ROBB gave Investor A the chance to make an additional investment. ROBB

also told Investor A the MEV bot would launch “in the next week or so.” On or around October 28,

2023, Investor A sent an additional $50,000 to an Ethereum virtual currency address provided by

ROBB. The funds provided by Investor A were subsequently transferred through multiple virtual

currency addresses and then into ROBB’s Coinbase account. A screenshot containing ROBB’s

October 27 representations on Telegram are included below:




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       32.    On or around November 7, 2023, ROBB informed Investor A that he was going to

start testing the bot that evening. Investor A responded that he was looking forward to seeing the

evidence of the transactions. Early the next morning, ROBB informed Investor A that the bot had

not yet conducted any transactions because it was still “warming up.”

       33.    On or around November 8, 2023, Investor A requested a refund from ROBB because

they had not received any returns or evidence ROBB created a MEV bot. ROBB provided multiple

excuses for why he could not immediately refund Investor A; for example, ROBB claimed to be a

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victim of extortion attempts and insisted his virtual currency exchange account was frozen. Despite

ROBB repeatedly promising him his refund by various dates, as of the date of this affidavit, Investor

A has not received a refund from ROBB nor profits from the MEV bot.

       Investor B

       34.     In October 2022, Investor B received a message from ROBB’s X account,

@pokerbrat2019, seeking investment in a MEV bot. Similar to the statements made to Investor A,

ROBB told Investor B he created a MEV cryptocurrency trading bot that would generate millions of

dollars in profit. ROBB told Investor B their investment would be used by the MEV bot to execute

trades and move the market. Profits from the MEV bot would be split “fifty-fifty” between ROBB

and Investor B. ROBB made representations to Investor B that are similar in nature to those captured

in the screenshots provide by Investor A.

       35.     From in and around November 2022 to June 2023, Investor B invested a total of

approximately $514,443 with ROBB. From November 2022 to May 2023, Investor B sent multiple

USDC transactions totaling approximately $411,943 to Ethereum addresses provided by ROBB. A

review of records shows ROBB transferred the funds through multiple virtual currency addresses

before depositing the funds at ROBB’s Binance account. From April 2023 to June 2023, Investor B

sent approximately eight wires totaling $132,500 to ROBB’s personal bank accounts. For example,

on April 13, 2023, Investor B wired $50,000 from his Bank of America account to ROBB. This wire

transfer was routed through a server located in the Eastern District of Virginia.

       36.     Investor B and ROBB met in person on two occasions. During their interactions,

ROBB assured Investor B the MEV bot would be launched imminently. When the MEV bot failed

to launch within months, ROBB provided Investor B multiple excuses for why the MEV bot was not

developed or launched, including an alleged suicide attempt by ROBB’s sister.



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        37.    In and around September 2023, approximately 10 months after Investor B’s initial

investment, Investor B approached ROBB about a refund. Investor B had not received any money

from ROBB nor any indication the MEV bot was developed. On September 27 and October 13, 2023,

Investor B received a partial refund from ROBB totaling $75,000. As of the date of this affidavit,

Investor B had not received the remaining $439,443 owed by ROBB nor any profits from the MEV

bot.

        Investor C

        38.    In and around September 2023, Investor C saw a post by ROBB on Friend.Tech

advertising an opportunity to invest in a MEV bot. Through conversations on Friend.Tech, X, and

Telegram, ROBB told Investor C, among other representations, that Investor C’s investment would

be used by the MEV bot to execute trades. ROBB claimed the bot was almost ready to go and the

trades would result in “six figure returns” within a week. Further, ROBB described Investor C’s

investment in the MEV bot as a “risk free” investment. ROBB’s representations to Investor C are

similar in nature to those captured in the screenshots provided by Investor A.

        39.    ROBB told Investor C their investment must be sent to an Ethereum virtual currency

address operated by ROBB and then through other virtual currency addresses. As with Investor A,

ROBB claimed he must “obfuscate” the funds or else the MEV bot strategy would be “ruined.” On

or about September 5, 2023, Investor C sent approximately $100,000 to ROBB for investment in the

MEV bot.

        40.    Approximately two months later, ROBB informed Investor C that new investors were

investing significant funds that would dilute Investor C’s initial investment and that Investor C

needed to invest more money. Investor C therefore invested an additional $25,000 in the MEV bot

on or about November 2, 2023. At this time, ROBB assured Investor C that the release of the bot



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was a matter of when, not if. At this moment, Investor C was worried ROBB would run away with

their money.

          41.      A review of records shows that upon receipt of funds from Investor C, ROBB sent

the funds through multiple virtual currency addresses before depositing the funds to ROBB’s

Coinbase account.

          42.      Investor C tried to get a refund from ROBB, but ROBB refused. In January 2024,

ROBB requested Investor C invest more money in the MEV bot, but Investor C declined. As of

February 26, 2024, Investor C had not received any funds from ROBB nor profits from the MEV

bot. Investor C has stated that if he knew at the time he made his investments that ROBB still would

not have launched the bot by now, he would not have invested.

          43.      The FBI has interviewed and/or received complaints from approximately eight other

individuals who similarly reported being induced by ROBB to invest in an MEV bot. These

individuals have not received profits from the investment or refunds when requested.

   III.         Laundering of Funds Derived from the Fraud, Including Use of Investor Funds for
                Personal Expenses

          44.      A review of account records and statements for numerous bank and virtual currency

exchange accounts associated with ROBB shows ROBB received approximately $1.5 million from

individuals I have confirmed or believe to be investors in ROBB’s MEV bot, based on interviews of

investors, correspondence received from third parties, and similarities among the transactions.

Despite ROBB’s representations to investors claiming investor funds would be used as trading

capital for the MEV bot, the records show that investor funds were funneled to virtual currency

exchange accounts and traditional bank accounts held in ROBB’s name. The funds were ultimately

used to pay for personal expenses. There is no evidence that any of these funds were ever used for

trading, software development, or business expenses.


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       45.      Through conversations with investors, records provided by virtual currency

exchanges and banks, and analysis of records and the blockchain, I learned ROBB used multiple

virtual currency addresses, virtual currency exchange accounts and bank accounts as well as the

purchase of goods to launder proceeds of the criminal scheme. Specifically, ROBB transferred

investor funds between multiple virtual currency addresses, deposited funds to his virtual currency

exchange accounts, split funds between different accounts, and then ultimately transferred the

investor funds to his personal bank accounts. Because the blockchain is otherwise public, these

numerous transfers and mixing of funds made it difficult for any of his investors to track their funds

and realize they were not being used for the promised purposes. From his personal bank accounts,

ROBB used investor funds to make personal purchases as described in Section III. In my training

and experience, I know that individuals move funds between multiple accounts to obscure the source

of funds and disguise ownership in an attempt to launder illicit proceeds. As noted above, ROBB

told some investors that he needed to “obfuscate” the source of funding.

       46.      For example, on or about September 8, 2023, at ROBB’s direction, Investor A sent

three transactions of USDC totaling approximately $100,000 to an Ethereum virtual currency address

ending in -f147 (“Ethereum Address 1”). In three transactions executed between September 26 and

October 3, 2023, ROBB transferred the funds to three separate Ethereum addresses; from there,

ROBB transferred the funds to his Coinbase account. The transfers are summarized as follows:

             a. On September 26, 2023, ROBB transferred 50,000 USDC from Ethereum Address 1

                to an Ethereum virtual currency address ending in -e183. Within minutes, the funds

                were deposited into ROBB’s Coinbase account. That same day, ROBB transferred

                $20,000 from his Coinbase account to his Bank of America bank account, $5,000 to

                his Wells Fargo bank account, and $5,000 to his JPMorgan Chase bank account.



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             b. On September 27, 2023, ROBB transferred 25,000 USDC from Ethereum Address 1

                to an Ethereum address ending in -690F. Within minutes, the funds were deposited

                into ROBB’s Coinbase account.

             c. On October 3, 2023, ROBB transferred 25,004 USDC from Ethereum Address 1 to

                an Ethereum virtual currency address ending in -4712. Within minutes, the funds

                were deposited into ROBB’s Coinbase account.

       47.      On October 28, 2023, at ROBB’s direction, Investor A sent a 50,000 USDC

transaction totaling approximately $50,000 to an Ethereum virtual currency address ending in -dcDe

(“Ethereum Address 2”). Through five transactions executed within the next 11 days, ROBB

transferred the USDC in Ethereum Address 2 to two Ethereum virtual currency addresses, from

which ROBB transferred the funds to his Coinbase account. The transfers are summarized as follows:

       a. From October 29 to November 3, 2023, ROBB transferred 35,000 USDC from

             Ethereum Address 2 to an Ethereum address ending in -80DF.

       b. From November 6 to 8, 2023, ROBB transferred 15,000 USDC from Ethereum Address

             2 to an Ethereum address ending in -717E.

       c. Within minutes of receipt, the two Ethereum addresses sent the funds received from

             Investor A to ROBB’s Coinbase account.

       48.      A review of ROBB’s Coinbase account reveals that ROBB transferred funds received

from Investor A to ROBB’s bank accounts at Wells Fargo, JPMorgan, and Bank of America. A

review of financial statement from ROBB’s bank accounts shows ROBB used funds from Investor

A for purposes not disclosed to or approved by Investor A (who believed that his funds would be

used to invest), to include airline tickets, sporting event tickets, and purchases at casinos.




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       49.     From November 2022 through January 2024, ROBB deposited approximately $1.1

million in this manner into his personal Bank of America bank account and approximately $417,900

into a personal JPMorgan Chase bank account.

       50.     Further, a review shows ROBB spent large sums of investor money on personal

expenses. Some examples of ROBB using investor funds for personal expenses are summarized as

follows:

       a.      Between September 4 and 5, 2023, ROBB received three deposits to his Coinbase

account totaling over $250,000. The funds derived from a payment from an investor known to the

FBI and other payments FBI believes are associated with other investors. On September 5, 2023,

ROBB executed six transfers totaling $215,924.61 from his Coinbase account to his Bank of America

account, which had a prior balance of $6,532.09. On the same day, ROBB sent a wire totaling

$204,423 to Stadium Management Company, a management company for Mile High Stadium and

the Denver Broncos Football Club. A review of records provided by the Denver Broncos Football

Club shows ROBB purchased a two-year lease for an executive suite at the Denver Broncos’ Mile

High Stadium for the 2023 and 2024 National Football League seasons. ROBB’s payment to the

Bronco’s on September 5 was transmitted through a server located in the Eastern District of Virginia.

       b.      On or about September 6, 2023, ROBB received three deposits to his Coinbase

account totaling approximately $129,235 that were consistent with investor payments. On the same

day, ROBB transferred approximately $126,399.26 from his Coinbase account to JPMorgan Chase

account, which had a prior balance of $744.67. On the same day, ROBB made a payment of

$117,570.00 from his JPMorgan Chase account to Stew Hansen Dodge City. A review of records

from Stew Hansen Dodge City shows ROBB used the funds to purchase a 2023 Jeep Wagoneer

vehicle.



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         c.       From approximately October 8 to October 11, 2023, ROBB received four deposits to

his Coinbase account totaling approximately $151,400 that were consistent with investor payments

to ROBB. Between October 11 and 12, 2023, ROBB transferred approximately $68,582.52 from his

Coinbase account to his Bank of America account. Shortly after, on October 12, 2023, ROBB wired

$46,914.50 from his Bank of America account to Atlantis Paradise Vacation. Open-source research

shows Atlantis Paradise is an ocean-themed vacation resort on Paradise Island in the Bahamas.

   IV.         Ongoing Activity

         51.      Through conversations with victims and witnesses as well as a review of bank and

virtual currency exchange account records, I learned ROBB continues to actively provide excuses

for MEV bot launch and refund delays. I also learned ROBB is actively soliciting investment from

new investors.

         52.      ROBB actively provides excuses for MEV bot and refund delays to include extortion

and threats to his safety. For example, ROBB accused an investor of being involved in a conspiracy

to murder ROBB and accused another investor of reporting him to the FBI and thus creating legal

delays. A screenshot of the Telegram message from ROBB is included below (with the investor’s

profile picture redacted):




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       53.    In addition to soliciting investment in the MEV bot, ROBB is actively promoting and

seeking investment in a new cryptocurrency token called “$RAT”. ROBB continues to claim large

returns for investment in the MEV bot and tokens. For example, I learned from an investor that on

or around February 27, 2024, ROBB posted a message about the MEV bot and tokens to Telegram.

The message contains an image with the text “poof you’re a millionaire” and states being a

millionaire could “easily” be the case for many investors. Further, ROBB implied the returns are

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imminent, stating that “sometime tonight, this journey begins!” A screenshot containing the image

and ROBB’s Telegram message is included below:




       54.     A review of ROBB’s Coinbase account shows that as of February 2024, ROBB

continues to receive large payments of Ether (ETH), USDC, and Solana (SOL). Due to the ongoing

solicitation of investment through Telegram, the similarity in volume between known investor

payments and the recent payments, and a lack of other identifiable income, I believe ROBB actively

receives investment payments from new investors and will continue to solicit investment from

additional investors.




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                                          CONCLUSION

          55.   Based on the foregoing, there is probable cause to believe that, beginning no later

than November 2022 and continuing through the present, in the Eastern District of Virginia and

elsewhere, ROBERT ROBB having devised and intending to devise a scheme and artifice to defraud

investors to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises, and for the purpose of executing the scheme and artifice to defraud,

knowingly transmitted and caused to be transmitted by means of wire communications in interstate

commerce, certain writings, signs, signals and sounds, to wit, a message transmitted via the internet

on September 4, 2023, to Investor A, in violation of Title 18, United States Code § 1343 (Wire

Fraud).

          56.   I therefore respectfully request an arrest warrant authorizing the arrest of ROBB.



                                      Respectfully submitted,




                                                    Jordan A. Jenkins
                                                    Special Agent
                                                    Federal Bureau of Investigation


Subscribed and sworn to before me on March 15, 2024




_________________________________________
Honorable William E. Fitzpatrick
United States Magistrate Judge




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